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          EXHIBIT "E"
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                      IN THE STATE COURT OF CHATHAM COUNTY
                                 STATE OF GEORGIA

GRACIE F. SCOTT

                Plaintiff,

V   .                                                 CIVIL FILE NO. STCV1501572

BELK, INC.,

                Defendant.


                        NOTICE OF FILING NOTICE OF REMOVAL

         Please take notice that BELK, INC., by and through the undersigned counsel, has on this

date e-filed its Notice of Removal in the United States District Court for he Southern District of

Georgia, Savannah Division, a copy of which is attached hereto as Exhibit "A," along with a

copy of the pleadings filed in the State Court of Chatham County, Georgia.

         By virtue of law, the aforesaid case is now removed and further proceedings in the State

Court of Chatham County are stayed.

         Respectfully submitted this 6th day of January 2016.

                                              SWIFT, CURRIE, MeGHEE & flIERS, LLP



                                              By:                   L         /
                                                      Paela
                                                        m Newsom Lee
                                                      Georgia State Bar No. 198981

                                                      Counsel for Defendant Belk, Inc.

The Peachtree, Suite 300
1355 Peachtree Street, N.E.
Atlanta, Georgia 30309-3231
Telephone: (404) 874-8800
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pamela.Ieeswiftcurrie.com
     Case 4:16-cv-00003-WTM-GRS Document 1-5 Filed 01/06/16 Page 3 of 3




                                 CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a copy of the within and foregoing NOTICE

OF FILING NOTICE OF REMOVAL upon all parties to this matter by depositing a true copy

of same via U.S. Mail, proper postage prepaid, addressed to counsel of record as follows:

                                      H. Craig Stafford, Esq.
                                      Jeffery L. Arnold, Esq.
                                     Andrew S. Johnson, Esq.
                                     ARNOLD & STAFFORD
                                       Post Office Box 339
                                     Hmesville, Georgia 31310

         Respectfully submitted this 6th day of January 2016.

                                              SWIFF, CURRIE, MCGHEE & HERS, LLP



                                                  ~
                                              By: I                  —'      /              "




                                                P -ela Newsom Lee            "




                                                Georgia State Bar No. 198981

                                                      Counsel for Defendant Belk, Inc.

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